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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 1 of 12
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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 2 of 12
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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 3 of 12

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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 7 of 12
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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 8 of 12
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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 9 of 12
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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 10 of 12
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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 11 of 12
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Case 2:19-cv-00005-RRB Document1 Filed 10/18/19 Page 12 of 12
